                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF OREGON



 ORBITAL PUBLISHING GROUP, INC. a New
 York corporation, and LIBERTY PUBLISHERS
 SERVICES, INC., a New York corporation,
                                                         Case No. 1:15 CV 00480-CL
                                        Plaintiffs,
                                                         ORDER
    v.

 BRIDGET WELLS, individually, and
 PERIODICAL WATCHGUARD, LLC., a North
 Carolina limited liability company,

                                      Defendants.



         Magistrate Judge Clarke filed his Findings and Recommendation on December 21,

2015. The matter is now before me. See 28 U.S.C. § 636(b)(l)(B) and Fed. R. Civ. P. 72(b).

No objections have been timely filed. This relieves me of my obligation to give the factual

findings de novo review. Lorin Corp. v. Goto & Co., Ltd., 700 F.2d 1202, 1206 (9th Cir.

1982). See also Britt v. Simi Valley Unified School Dist., 708 F.2d 452, 454 (9th Cir. 1983).

Having reviewed the legal principles de novo, I find no error.

         THEREFORE, IT IS HEREBY ORDERED that, I adopt Judge Clarke Findings and

Recommendation.

         Dated this--'-_ day of January, 2016.



                                         Ann Aiken, United States District Judge
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